 Case 3:20-cv-00754-JAH-BLM Document 1-4 Filed 04/21/20 PageID.43 Page 1 of 2



     Aaron D. Aftergood (SBN 239853)
 1     aaron@aftergoodesq.com
     THE AFTERGOOD LAW FIRM
 2   1880 Century Park East, Suite 200
     Los Angeles, CA 90067
 3   Telephone: (310) 550-5221
     Facsimile: (310) 496-2840
 4
     Taylor T. Smith*
 5     tsmith@woodrowpeluso.com
     WOODROW & PELUSO, LLC
 6   3900 East Mexico Avenue, Suite 300
     Denver, Colorado 80210
 7   Telephone: (720) 213-0676
     Facsimile: (303) 927-0809
 8
     *Pro Hac Vice admission to be sought
 9
     Attorneys for Petitioner
10
11                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
     ABANTE ROOTER AND                             Case No. '20CV0754 JAH BLM
14   PLUMBING, INC., a California
     corporation, individually and on behalf
15   of all others similarly situated,             CERTIFICATE OF SERVICE
16                       Petitioner,
17   v.
18   TRIUMPH MERCHANT
     SOLUTIONS, LLC, a California
19   limited liability company,
20                       Respondent.
21
22
           The undersigned hereby certifies that on April 21, 2020, I served a true and
23
     accurate copy of the following documents:
24
           (1)    Petitioner’s Motion To Compel Compliance With Subpoenas
25
                  And For Order To Show Cause As To Why Triumph Merchant
26
                  Solutions, LLC Should Not Be Held In Contempt;
27
28
     CERTIFICATE OF SERVICE                    1
 Case 3:20-cv-00754-JAH-BLM Document 1-4 Filed 04/21/20 PageID.44 Page 2 of 2




 1         (2)    Memorandum In Support Of Petitioner’s Motion To Compel
 2                Compliance With Subpoenas And For Order To Show Cause
 3                As To Why Triumph Merchant Solutions, LLC Should Not Be
 4                Held In Contempt;
 5         (3)    Group Exhibit A – Triumph Subpoenas;
 6         (4)    Group Exhibit B – Declaration of Taylor T. Smith In Support
 7                Of Petitioner’s     Motion   To Compel Compliance        With
 8                Subpoenas And For Order To Show Cause As To Why
 9                Triumph Merchant Solutions, LLC Should Not Be Held In
10                Contempt;
11         (5)    Group Exhibit C – Declarations of Diligence;
12         (6)    Group Exhibit D – Proofs of Service;
13         (7)    [Proposed] Order Granting Petitioner’s Motion To Compel
14                Compliance With Subpoenas And For Order To Show Cause
15                As To Why Triumph Merchant Solutions, LLC Should Not Be
16                Held In Contempt; and
17          (8)   Petitioner’s Corporate Disclosure Statement.
18   The foregoing documents were served by first-class U.S. Mail, postage prepaid, and
19   properly addressed to the following party:
20
                               Triumph Merchant Solutions, LLC
21
                              Brandon M. Smith, Registered Agent
22
                                    105 W. F St, 3rd Floor
23
                                 San Diego, California 92101
24
25                                                 /s/ Taylor T. Smith
                                                   Taylor T. Smith
26
27
28
     CERTIFICATE OF SERVICE                    2
